Case: 4:04-cr-00466-HEA   Doc. #: 454 Filed: 12/14/05   Page: 1 of 7 PageID #:
                                    1081
Case: 4:04-cr-00466-HEA   Doc. #: 454 Filed: 12/14/05   Page: 2 of 7 PageID #:
                                    1082
Case: 4:04-cr-00466-HEA   Doc. #: 454 Filed: 12/14/05   Page: 3 of 7 PageID #:
                                    1083
Case: 4:04-cr-00466-HEA   Doc. #: 454 Filed: 12/14/05   Page: 4 of 7 PageID #:
                                    1084
Case: 4:04-cr-00466-HEA   Doc. #: 454 Filed: 12/14/05   Page: 5 of 7 PageID #:
                                    1085
Case: 4:04-cr-00466-HEA   Doc. #: 454 Filed: 12/14/05   Page: 6 of 7 PageID #:
                                    1086
Case: 4:04-cr-00466-HEA   Doc. #: 454 Filed: 12/14/05   Page: 7 of 7 PageID #:
                                    1087
